Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 1 of 16

UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

 

PATRICK URBAIN POTTIER,
Plaintiff,

CIVIL ACTION
NO. 18-01378-WGY

Vv.
HOTEL PLAZA LAS DELICIAS, INC.,

Defendant.

 

YOUNG, D.J.4 May 7, 2019
MEMORANDUM & ORDER

I. INTRODUCTION

This action arises out of the destruction and reproduction
of a site-specific mural created by plaintiff Patrick Urbain
Pottier (“Urbain”) at a hotel the defendant Hotel Plaza Las
Delicias, Inc. (“the Hotel”) owns. The Hotel covered the mural
with wallpaper (destroying it), printed a copy onto wallpaper,
and displayed it in another area of the Hotel. Urbain sues the
Hotel for copyright infringement under the federal Copyright
Act, 17 U.S.C. §§ 106 et _seg., and the Moral Rights Act of
Puerto Rico (“the PRMRA”), 31 L.P.R.A. §§ 1401i-1401ff. The
Hotel moves to dismiss the action because: (1) Urbain has not

pleaded damages sufficiently under the federal Copyright Act,

 

1 Of the District of Massachusetts, sitting by designation.
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 2 of 16

(2) Urbain’s site-specific Mural is not protected by the PRMRA,
and (3) the Copyright Act preempts the PRMRA. At the March 27,
2019 hearing on the motion, this Court denied the motion to
dismiss as to the Copyright Act claim and took the motion under
advisement as to the PRMRA claim.

A. Factual Background?

Urbain is an artist. Am. Compl. 47 13-14, ECF No. 30. In
early 2013, the Hotel commissioned Urbain to paint a mural in
its “VIVA Bar” located at the Ponce Plaza Hotel and Casino in
Ponce, Puerto Rico. Id. @ 16.

In April 2013, Urbain completed the wall mural entitled
“Espejismo Nocturno” (“the Mural”). Id. 21. The Mural was
“designed specifically taking into consideration the structure
and architecture of that specific room in the ‘VIVA Bar’ owned
by the [Hotel].” Id. 7 22. The Mural became a “known
attraction” and a “fundamental part [of VIVA Bar] to appeal to
customers and tourists who enjoyed contemplating this impressive
work of art.” Id. (1 27, 30.

In 2016, the Hotel changed the location of “VIVA Bar.” Id.
q 31. As a result, the Hotel “entirely covered [the Mural] with
wallpaper mutilating it and destroying it completely to the

point where it cannot be restored to its original state.” Id. 7

 

2 The well-pleaded facts from the Amended Complaint, ECF No.
30, are taken as true only for purposes of this motion.

[2]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 3 of 16

32. Before the Hotel destroyed the Mural, the Hotel copied it
onto wallpaper (which Urbain describes as a “cheap and
apocryphal reproduction”) and placed it in the new “VIVA Bar”
location. Id. § 33. The Hotel did not notify Urbain nor seek
his consent for the destruction and reproduction of the Mural.
Id. 47 35-36.
B. Procedural History

Urbain filed an amended complaint in response to the
Hotel’s original motion to dismiss. Am. Compl.; see Mot.
Dismiss pursuant Fed. R. Civ. P. 12(b) (6), ECF No. 25. The
Hotel then filed and briefed a motion to dismiss the amended
complaint. Mot. Dismiss Am. Compl. Pursuant Fed. R. Civ. P.
12(b) (6) (“Mot. Dismiss”), ECF No. 35. Urbain filed an
opposition. Opp’n Mot. Dismiss Am. Compl. (“Opp’n Mot.”), ECF
No. 38. The Hotel filed a reply memorandum and the plaintiff
filed a sur-reply. Reply Opp’n Mot. Dismiss Am. Compl. (“Reply
Opp’n”), ECF No. 48; Sur-reply Def.’s Reply Opp’n Mot. Dismiss
Am. Compl. (“Sur-reply”), ECF No. 53. The Sur-reply raised a
request to certify a question to the Supreme Court of Puerto
Rico. Sur-reply 3-4, 10. The Hotel moved to strike the request
for certification, which Urbain opposed. Mot. Strike Pl.’s
Request Certification Puerto Rico Supreme Ct. and Opp’n
Certification Request, ECF No. 54; Pl.’s Resp. Def.’s Mot.

Strike, ECF No. 55. The Court denied the motion to strike and

[3]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 4 of 16

ordered the certification issue be taken up at the hearing on
the motion to dismiss. Order, ECF No. 59.

During a hearing on March 27, 2019, this Court denied the
motion to dismiss as to the copyright claim, ruling that the
Amended Complaint sufficiently pleaded a violation of the
Copyright Act. See March 27, 2019 Min. Order, ECF No. 65. With
respect to Urbain’s PRMRA claim, the Court denied as premature
Urbain’s request to certify questions to the Puerto Rico Supreme
Court. The Court inquired whether the parties wished to proceed
with the PRMRA claims in the courts of the Commonwealth of
Puerto Rico, or would rather have this Court decide that claim.
The parties indicated that they wished to proceed with all of
the claims in this Court. The Court heard argument on the
motion to dismiss the PRMRA claims and took the remainder of the
motion under advisement. Id.

What remains for the Court to determine is whether,
accepting the well-pleaded factual allegations as true and
drawing all reasonable inferences in Urbain’s favor, the Amended
Complaint states a claim upon which relief can be granted under
the PRMRA. Grajales v. P.R. Ports Auth., 682 F.3d 40, 44 (1st
Cir. 2012); Fed. R. Civ. P. 12(b) (6). The Hotel moves to
dismiss this claim on the grounds that: (1) the Mural is a

“site-specific work,” which is not covered under the PRMRA; and
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 5 of 16

(2) even if the PRMRA applies, federal law preempts it.? As set
forth in more detail below, the Court rules that the PRMRA does

not apply to site-specific works such as the Mural. Because the
PRMRA does not apply to the Mural, the Court need not, and does

not, determine whether the PRMRA is preempted by federal law.

II. Analysis

“[T]he Visual Artists Rights Act, 17 U.S.C. § 106A,
[“VARA”] was an amendment to the Copyright Act that protects the
‘moral rights’ of certain visual artists in the works they
create, consistent with Article 6bis of the Berne Convention.”
Massachusetts Museum of Contemporary Art Found., Inc. v. Buchel,
593 F.3d 38, 47 (lst Cir. 2010). “Beyond the Copyright Act's
protections of certain economic rights, VARA provides additional
and independent protections to authors of works of visual art.”
Id. at 48. Under VARA, “[mJoral rights are ‘rights of a
spiritual, non-economic and personal nature that exist
independently of an artist's copyright in his or her work and
spring from a belief that an artist in the process of creation
injects his spirit into the work and that the artist's

personality, as well as the integrity of the work, should

 

3 The Hotel also moved to dismiss claims for statutory damages to the
extent that Urbain sought statutory damages under the Copyright Act. Mot.
Dismiss 17. In response, Urbain represented in his opposition that he is
seeking statutory damages under the PRMRA, and not the Copyright Act. Opp’n
Mot. 17. This argument is therefore moot and not addressed further.

[9]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 6 of 16

therefore be protected and preserved.’”4 Rivera v. Mendez & Co.,
824 F. Supp. 2d 265, 267 (D.P.R. 2011) (Gelpi, J.) (quoting
Mass. Museum of Contemporary Art Found., Inc., 593 F.3d at 49)
(citations and quotations omitted). “The rubric of moral rights
encompasses many varieties of rights, but the two most widely
recognized are attribution and integrity.” Mass. Museum of

Contemporary Art Found., Inc., 593 F.3d at 47-8 (citation and

 

quotations omitted). “(T]he right of attribution protects the

 

4 VARA provides that the author of a work of visual art:

(1) shall have the right—
(A) to claim authorship of that work, and
(B) to prevent the use of his or her name as the
author of any work of visual art which he or she
did not create;

(2) shall have the right to prevent the use of his or
her name as the author of the work of visual art in
the event of a distortion, mutilation, or other
modification of the work which would be prejudicial to
his or her honor or reputation; and

(3) subject to the limitations set forth in section
113(d), shall have the right—
(A) to prevent any intentional distortion,
mutilation, or other modification of that work
which would be prejudicial to his or her honor or
reputation, and any intentional distortion,
mutilation, or modification of that work is a
violation of that right, and
(B) to prevent any destruction of a work of
recognized stature, and any intentional or
grossly negligent destruction of that work is a
violation of that right.

17 U.S.C. § 106A(a).

[6]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 7 of 16

author's right to be identified as the author of his work and
also protects against the use of his name in connection with
works created by others.” Id. “The right of integrity allows
the author to prevent any deforming or mutilating changes to his
work.” Id. (quotation and citation omitted).

Although there are express statutory exceptions to
qualifying “works of visual art,” the First Circuit has grafted
on an implicit exception for “site-specific” works. Phillips v.
Pembroke Real Estate, Inc., 459 F.3d 128, 143 (lst Cir. 2006)
(“[T]he plain language of VARA does not protect site-specific
art. If such protection is necessary, Congress should do the
job.”). Here the parties agree that the Mural is a site-
specific work of art. Am. Compl. 917 19, 22 and 44; Mot. Dismiss
11 (“It cannot be gainsaid that Plaintiff’s work is site-
specific.”); Opp’n Mot. 10 (“There is no dispute in terms that
[the Mural] . . . is a site-specific work of art.”). Therefore
VARA does not apply to the Mural.?

The PRMRA, similar to VARA, recognizes an author’s moral
rights to works of art “which exist by virtue of the very
personal relationship between an author and his work.” 31

L.P.R.A. §1401j3(b). Under the PRMRA, moral rights “arise at the

 

> Urbain amended his complaint to, among other things,
remove the VARA claim after the Hotel moved to dismiss the
original complaint.

(7]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 8 of 16

time the work is fixed by the author on a tangible medium of
expression.” Id. The PRMRA defines a “work” of art more
broadly than the VARA as an “original literary, musical, visual
(plastic or graphic), dramatic or performing, artistic, or any
other type of creation produced through intelligence and
creative in nature, expressed in a tangible medium that is
currently known or which may be invented in the future.” 31
L.P.R.A. §14013(d). The PRMRA establishes the following four
“moral rights” in such works:

(1) Attribution. The right to be recognized as the

author, whenever that is the case, as well as to

prevent the attribution thereto of works that are not

his. It includes the right to determine whether the

work shall be published under his name, under a

pseudonym or sign, or anonymously.

(2) Withdrawal. The right to waive authorship whenever
the work no longer conforms to his intellectual or
moral convictions.

(3) Integrity.

(A) To prevent the mutilation, deformation, or
alteration of the work so that it undermines the
legitimate interests or reputation of the author.

(B) To prevent the public presentation or distribution
of a mutilated, deformed, or altered work that can
undermine the legitimate interests or reputation of
the author; and,

(C) To prevent the intentional or negligent
destruction of the original or a sole copy of a work.

(4) Access. The right to demand reasonable access to
the original or sole copy of a work whenever it is in
the hands of another, so as to be able to exercise
copyright. This right does not entail the movement of

[8]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 9 of 16

a work and access thereto shall be in such a way that

causes the least inconvenience to its owner, who shall

be compensated in his case for any expenses caused by

exercising this right.
31 L.P.R.A. § 14013.

“Statutory construction in Puerto Rico begins with the text
of the underlying statute, and ends there as well if the text is
unambiguous.” Oguendo-Lorenzo v. Hosp. San Antonio, Inc., 256
F. Supp. 3d 103, 107 (D.P.R. 2017) (quoting In re Plaza Resort
at Palmas, Inc., 741 F.3d 269, 274-75 (1st Cir. 2014). “After
all, the Puerto Rico Civil Code provides that ‘[w]hen a law is
clear and free from all ambiguity, the letter of the same shall
not be disregarded, under the pretext of fulfilling the spirit
thereof.’” Id. at 107 (quoting P.R. Laws Ann. tit. 31, § 14)
(alteration in original). “When the plain language of a statute
does not settle the interpretive query at issue, or when seeking
additional indicia of the Legislature’s intent,” the Court may
rely on the Legislature’s statement of motives. Id.

The Hotel argues that, like VARA, the PRMRA does not apply
to site-specific art. Mot. Dism. 11. It argues that, like
VARA, the PRMRA does not mention “site-specific” works. Id. at
12. The Hotel relies on the reasoning of Phillips. Id. at 13.
In Phillips, an artist brought an action against Pembroke Real
Estate, Inc. to prevent the removal of certain elements of a

park. Phillips, 459 F.3d at 137. Upon appeal, the First

[9]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 10 of 16

Circuit certified to the Supreme Judicial Court of Massachusetts
the following question: “[t]o what extent does the Massachusetts
Art Preservation Act, Mass. Gen. L. ch. 231, §85S (“MAPA”),
protect the placement of site-specific art?” Phillips v.
Pembroke Real Estate, Inc., 443 Mass. 110, 111 (2004). The
Supreme Judicial Court answered:

MAPA does not protect the placement of the type of
site-specific art at issue here. Although it
prohibits the physical destruction of the crafted
components of such art, MAPA does not protect it
against the conceptual destruction or
decontextualization that may result from the removal
of those components from the physical environment in
which they have been placed. If the crafted
components of site-specific art can be extracted from
their surroundings without physical damage to them,
the statute is not violated by their removal.

Id. at 112. The holding acknowledges statutory property owners’
rights in cases where the art cannot be removed without its
destruction:

It is apparent that in drafting the statute, the
Legislature was concerned not only with creating new
rights for artists, but also with protecting the
rights of property owners who commission artworks that
become attached to real property. This concern
manifests itself in the way § 85S(h) of MAPA addresses
“fine art” attached to buildings. If the art can be
removed from the building without causing “substantial
harm” to the art, the building owner may remove the
art after giving the artist notice and ninety days to
reclaim and remove it himself (at his own expense).
G.L. c. 231, § 858(h) (2). If the artwork cannot be
removed from the building without causing the
“substantial physical defacement, mutilation,
alteration, or destruction” of the art, the owner may
proceed to remove it unless the artist has expressly
reserved his rights under the statute “by an

[10]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 11 of 16

instrument in writing signed by the owner of such

building and properly recorded, prior to the

installation of such art” (emphasis added). G.L. c.

231, § 85S(h) (1).

Phillips, 443 Mass. at 117. MAPA is, of course, a different
statutory structure than the PRMRA, as the PRMRA has no
provisions governing destruction of works attached to buildings.

VARA also addresses removal of works incorporated into
buildings. 17 U.S.C. §113(d).

The First Circuit held that statutory silence in VARA and
its legislative history, combined with the competing interests
peculiar to site-specific works and potential interference with
landowners’ rights freely to deal with their property, confirmed
its conclusion that VARA did not apply to site-specific works at
all:

If VARA actually established such a complicated, dual

regime, we would expect that the phrase “site-

specific”, or some equivalent, would appear in the

language of the statute. There is no such phrase

anywhere. Indeed, we would expect much more than just

a reference to site-specific art. We would expect an
elaboration of how to differentiate between site-

specific and non-site-specific art (plop-art). That
elaboration is nowhere to be found. Moreover, the
creation of a dual regime -- which would require us,

essentially, to rewrite VARA -- has potentially far-
reaching effects beyond the protection of Phillips’
work in the Park. Once a piece of art is considered
site-specific, and protected by VARA, such objects
could not be altered by the property owner absent
consent of the artist. Such a conclusion could
dramatically affect real property interests and laws.
For example, as Pembroke argues in its brief, .
Phillips' work in the Park “lies within a rapidly
changing urban area and extends beyond Eastport Park

[11]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 12 of 16

to Boston Harbor.” If a dual regime were created,
there is the potential that: not only would Pembroke's
ability to move [Phillips'] work or alter Eastport
Park be subject to Phillips' approval, but also the
owners of nearby property who had nothing to do with
the purchase or installation of Phillips' works would
be subject to claims that what they do with their
property has somehow affected the site and has, as a
result, altered or destroyed Phillips' works.

VARA does not apply to site-specific art at all.

Phillips, 459 F.3d at 142.

The Hotel argues that the Phillips Court’s reasoning
applies equally in this action. First, the PRMRA does not
address “site-specific” works at all. Mot. Dismiss 13. Second,
the PRMRA was drafted five years after Phillips was decided, and

under Cannon v. University of Chicago, 441 U.S. 677, 696-99

 

 

(1979), it ought be presumed that legislators know the law as
well as judicial decisions construing comparable statutes. Mot.
Dismiss 13-14.

Urbain agrees that the Court should assume the Puerto Rico
Legislative Assembly was aware of Phillips, but urges that the
act’s legislative history indicates the Legislative Assembly
intended to expand the rights beyond those articulated in VARA,
thus implicitly expanding the statute’s reach (without saying
so) to site-specific works. Opp’n Mot. 10-12.

The Statement of Motives undergirding the PRMRA provides in

pertinent part:

On December 1, 1990, after the United States became a
signatory of the Berne Convention, Congress approved

[12]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 13 of 16

the “Visual Artists Rights Act.” Said statute embraces
the basic civilist principle that the moral rights of
an author must be protected. Said federal legislation
applies only to works that have less than two hundred
(200) copies. We must clarify the federal legislation
is not preemptive, thus allowing states, and in this
case, Puerto Rico, to legislate in favor of the moral
rights of authors whenever the federal statute does
not protect the same. As a matter of fact, states such
as New York and California have approved legislation
related to authors’ moral rights. The main objectives
of this measure are: 1) to achieve greater certainty
and clarify some aspects about how moral rights are
applicable; 2) minimize possible clashes with the
statutory scheme of the Copyright Act; 3) temper our
protections with the realities of the digital age so
as not to hinder the Island’s economic, educational,
cultural, and creative development. Our artists play
an important role in capturing the essence of our
culture and preserving it for future generations to
appreciate. There is an interest to clearly define the
rights of artists, both for their sake and that of the
public in general. Access to artistic works must be a
priority for a society. Moreover, we must emphasize
that such rights belong to the authors and the State
must facilitate whatever it is that the former wishes
to do with its creations, rather than limiting their
abilities. The State must refocus its efforts towards
that which supports fostering the arts, making the
flow of works more flexible, and safekeeping the
balance between society’s access to a work and the
control of such work by he who creates it.

Statement of Motives of Act No. 55 of 2012, Oficina de Servicios
Legislativos, www.oslpr.org/download/en/2012/A-0055-2012. pdf

(last visited May 9, 2019) (“Statement of Motives”).® Urbain also

 

6 Urbain cites to another document, Informe Positivo sobre
el P. del S. 2263, Puerto Rico Senate, November 8, 2011, p. 14.
“This document is not available in English and [Urbain] failed
to provide a certified translation as required under applicable
law.” Reply 9 (citing 48 U.S.C. § 864 (“All pleadings and
proceedings in the United States District court for the District
of Puerto Rico shall be conducted in the English language.”)).

[13]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 14 of 16

cites to a Seventh Circuit decision criticizing the First
Circuit’s interpretation that the VARA does not apply to site-
specific art. Kelly v. Chi. Park Dist., 635 F.3d 290 (7t® Cir.
2011) (“question[ing] [the First Circuit’s] interpretation of
VARA”).

The Hotel responds that Legislative history reinforces
its interpretation of the PRMRA:

It defies credulity to argue that the Legislative

Assembly, aware of the fact that courts within this

Circuit had forewarned that statutes that do not

mention the concept of site-specific work should not

be read as trumping the rights of real property,

nonetheless chose to protect such works without making

a single reference to them in the PRMRA or the

statute’s legislative history.
Reply Opp’n 10. In response, Urbain changes tack, requesting
certification the issue to the Puerto Rico Supreme Court in
light of the parties’ drastically opposing interpretations of
the PRMRA. Sur-reply 4. At the hearing, this request was
denied.

The Hotel has the better of it. The PRMRA suffers from the

same issue as VARA: it does not mention site-specific works.

 

The Court therefore does not consider it. See Gonzalez~De-
Blasini v. Family Dep't, 377 F.3d 81, 89 (1st Cir. 2004) (“The
district court should not have considered any documents before
it that were in the Spanish language.”). Urbain has neither
responded to the Hotel’s argument, nor provided a certified
translation of the document. Accordingly, it is not considered.

[14]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 15 of 16

The legislative history of the PRMRA acknowledges differences
between United States law under the Copyright Act, including
VARA, and the roots of Puerto Rico’s moral rights law in the
Spanish Intellectual Property Law of 1879. Statement of Motives
3. The Court recognizes this distinction and the Legislative
Assembly’s expressed intent that the PRMRA complement federal
law. Statement of Motives 4. The Court is persuaded, however,
that if the Puerto Rico Legislative Assembly was aware of the
thorny property issues that arise in site-specific works -- and
Court assumes that it was -- it would have addressed the issue
explicitly had it intended the PRMRA to cover site specific-
works. Where there is no mention of site-specific works of art,
and our Circuit is one of the few Circuits by analogy to have
dealt with the issue head-on, it would appear the absence of any
mention of site-specific art excludes site-specific art from the
PRMRA. If protection of site-specific art is necessary under
the PRMRA, the Legislative Assembly of Puerto Rico can amend the
statutory scheme. See Phillips, 459 F.3d at 143 (“[T]he plain
language of VARA does not protect site-specific art. If such
protection is necessary, Congress should do the job.”).

Since this Court rules that the PRMRA does not apply to the
Site-specific work at issue here, the Court need not, and does
not, address the legal issue of whether federal law preempts the

PRMRA.

[15]
Case 3:18-cv-01378-WGY Document 68 Filed 05/09/19 Page 16 of 16

III. CONCLUSION

The motion to dismiss the amended complaint is DENIED as to
the copyright claim (Count I) and ALLOWED as to the PRMRA claim
(Count III).’?

SO ORDERED.

 
    
  

WILLIAM G.
DISTRICT JUIPGE

 

7 Count II seeks injunctive relief apparently for the
alleged copyright violations in Count I, and survives only to
that extent.

[16]
